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                  IN THE CIRCIJIT COURT FOR MONTGOMERY COUNTY, MARYLAND

          MICIiAEL T. PARKER
          PATRICE PARKER
          6714 Berkshire Dr.
          Temple Hills, MD 20748-4029
             On behalf of themselves indivfdually and
             similarly situated persons
                                                        Civil Case:    y
    - -       -Plaintiffs--   -    --      -     —

          u

          GOLDMAN SACFIS MORTGAGE
          COMPANY LIMITED PARTNERSHIP
                                                                      R E'`~~~I`~~
          2001 Ross Avenue, Suite 2800                                      OCT 3 0 2020
          Dauas, Tx 75201
          SERVE ON:                                                    Clerk of the Circuit Court
          The Corporation Trust, Incorporated,                         Montoomery County, Md.
                Resident Agent
          2405 York Road, Suite 201
          Lutherville-Timonium, MD 21093-2264

          And

          NEWREZ LLC d/b/a SHELLPOINT
          MORTGAGE SERVICING
          1100 Virginia Drive, Suite 125
          Fort Washington, PA 19034
          SERVE ON:
          CSC-Lawyers Incorporating Service,
-                —Resident'Agent
          7 St. Paul Street, Suite 820
          Baltimore, IViD 21202

              Defendants


                                        CLASS ACTION COMPLAINT
                                                   &
                                        REQUEST FOR JURY TRIAL
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        .   Plaintiffs Michael and Patrice Parker ("Parkers" or "Named Plaintiffs"), on their individ-

    ual behalf and on behalf of similarly situated individuals defined infra, by their attorneys, Phillip

    R. Robinson and the Consumer Law Center LLC and pursuant to MD. RuLE 2-231, sue Goldman

    Sachs Mortgage Company Limited Partnership d/b/a Goldman Sachs Mortgage Company ("Gold-

    man Sachs") and NewRez LLC (f/k/a New Penn Financial, LLC) d/b/a Shellpoint Mortgage Ser-

    vicing ("Shellpoint")(collectively "Defendants"), demand a trial by Jury on all counts for which

    a right to trial by jury is allowed and, in support of their Class Action Complaint, state:

                                              INTRODUCTION

            1.     This case concerns the Defendants' illegal fee harvesting program to generate sub-

    stantial revenue they are not entitled to collect as a matter of Maryland law, Maryland regulations,

    and the contracts governing the relations between Named Plaintiffs and the putative class members

    and the owners of their mortgage loans. No Maryland law, regulation, or contract at issue in this

    litigation expressly permits the Defendants' churning of fees related to the mortgages of the

    Parkers and the putative class members, but Goldman Sachs and Shellpoint wish to continue their

    illegal fee harvesting program unchecked and while doing so unfairly and deceptively increase the

    cost of mortgages for borrowers without the right to do so.

            2.     In instances, such as the underlying matters involving Shellpoint and Goldman

    Sachs, the mortgage servicer and assignee places their interest and pattern of unsafe and unsound

    mortgage service practices above the remedial rights of homeowners and consumers. Moreover,
A

    Shellpoint and Goldman Sachs unfairly and deceptively ignore their statutory and contractual du-

    ties including those which were agreed to as part of their licenses to legally operate in the State of

    Maryland.




                                                      ~
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       3.      In this action Shellpoint and Goldman Sachs have imposed certain fees and charges

onto the residential mortgage accounts of the Parkers and the putative class members they seek to

represent for accepting payments by telephone and/or by the Internet related when receiving a

borrower's partial or full payment. These so-called convenience fees to accept payments of partial

or full payments of consumer mortgage loans are barred as a matter of Maryland law.

       4.      In addition, since the consumer debts subject to this action involve mortgage loans

and related real property in the State of Maryland, the statute of frauds that applies in Mary_land

does not permit the Defendants to impose and charge fees that are not memorialized in a written

agreement. Further, as a licensed Maryland mortgage lender Shellpoint is barred from altering the

agreements governing its relationships with the Parkers and the putative class members unless any

such agreement is in writing and executed by all the parties. Md. Code Regs. 09.03.06.08. In

addition, as an unlicensed mortgage lender, Goldman Sachs is acting illegally. Fin. Inst. § 11-523.

       5.      The so-called convenience fees are an unlawful profit center imposed and collected

by Shellpoint and Goldman Sachs and are not simply pass-through costs to the Parkers and the

putative class members. Rather, they represent materially excessive sums and fees over Shell-

point's and Goldman Sachs' actual costs to accept a residential, mortgage payment by electronic

means over the phone or over the Intemet. Specifically, the Defendants' actual costs to their

various vendors who facilitate the telephonic and electronic payments charge pennies for the trans-

action, but Shellpoint imposes fees ranging from 10 to 25 times more than its actual costs. The

Parkers and the putative class members have sustained damages and losses since their rights and

protections under the law have been disregarded by Shellpoint and Goldman Sachs and they are

entitled to an award of statutory damages as permitted by Cotvt. LAw § 12-114(a)(1)(ii) for each
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of Shellpoint's and Goldman Sachs' violations of Co[vt. LAw § 12-105(d) and Cotvt. LAw § 12-

121(b).

          6.   As part of the fee harvesting program, the Defendants also have imposed and col-

lected property inspection fees from the Plaintiffs and certain putative class members without the

right to do so. Maryland law specifically provides that "a lender may not impose a lender's in-

spection fee in connection with a loan secured by residential real property." CoM. LAw § 12-

121(b). See also Taylor v. Friedman, 344 Md. 572,, 584 (1997).("For the foregoing_reasons we___

conclude that the legislative history does not so clearly demonstrate a purpose to limit the prohi-

bition of § 12-121 to closing costs as to override the plain language of the statute").

                                    JURISDICTION AND VENUE

          7.     This Court has jurisdiction asserted for the claims herein because Shellpoint and

Goldman Sachs transact business, perform work in, have interest in real property, and provide

services in Maryland and Montgomery County, Maryland.             See e.g. Pacifrc Mortg. and Inv.

Group, Ltd. v. Horn,100 Md.App. 311, 324 (Md-App.,1994)(a person who "buys and sells [] mort-

gage liens has done more than merely transacted business ... but has, in fact, carried on a regular

business").

          8.   This Court also has jurisdiction for the claims asserted because the injuries caused

by Shellpoint and Goldman Sachs to the Plaintiffs and certain of the putative class members oc-

curred in Maryland.

          9.   Further, Shellpoint and Goldman Sachs own real property, or have an interest in

real property in the State of Maryland and Montgomery County thereby subjecting themselves to

the jurisdiction of this Court.




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                                            PARTIES

       10.     Plaintiffs Michael and Patrice Parker ("Parkers" or "Named Plaintiffs") are natural

persons who own the real property known as 6714 Berkshire Dr. in Temple Hills, MD 20748-

4029 ("Parker Property"). The Parkers are also the borrowers on the mortgage loan subject to this

action which is associated with the Parker Property and was utilized entirely for personal, con-

sumer purposes ("Parker Loan"). The Parker Loan is a federally related mortgage.

       11.      Shellpoint is a wholly-owned subsidiary_of Shellpoint_P_artners_LLC,_aDelaware

limited liability company. Shellpoint Partners LLC is wholly-owned by NRM Acquisition LLC

and NRM Acquisition II LLC, both of which are Delaware limited liability companies. Both NR1Vi

Acquisition entities are wholly-owned by New Residential Mortgage LLC, a Delaware limited

liability company. New Residential Mortgage LLC is wholly-owned by New Residential Invest-

ment Corporation, a Delaware corporation. New Residential Investment Corporation is publicly

traded on the New York Stock Exchange under the ticker symbol NRZ. In addition:

              a.      NRZ advertises on its website the reason why it is focused on Shellpoint's

business model which acquires the mortgage servicing rights from others. "A mortgage servicing

right (MSR) provides a mortgage servicer with the right to service a pool of residential mortgage

loans in exchange for a portion of the interest payments made on the underlying residential mort-

gage loans. Advances are required capital outlays by the servicer to fund missed payments from

delinquent borrowers and foreclosure-related expenses. The servicer has limited risk of not being

reimbursed for advances, because advances are almost always `top of the waterfall' in the event of

a property sale" (https://www.newresi.com/about-us). In other words, Shellpoint makes more

money on behalf of NRZ by churning fees and making advances related to borrowers it believes
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are delinquent or in foreclosure and there is "limited risk" that those sums will not be reimbursed

to it—even if it has no right to impose the fees and charges in the first instance.

               b.      Shellpoint is a lender as that tenn is defined in COm. LAw § 12-101(f). See

also Kemp v Nationstar Mortg. Ass'n, No. 2652, SEPT.TERM,2018, --- A.3d ----, 2020 WL

5824227, at *9 (Md. Ct. Spec. App. Oct. l, 2020)(holding that § 12-101(f) applies to both assignees

and their agents when the assignees violate Subtitle 1 of Title 12 of the Commercial law Article

themselves affter accepting assignment of the loans go_v_erne_d_by_thos.e_provisions).

       12.     Goldman Sachs Mortgage Company Limited Partnership d/b/a Goldman Sachs

Mortgage Company ("Goldman Sachs") was formed under the law of New York but all of its

partners and subsidiaries are unknown. The general partner for Goldman Sachs is the Goldman

Sachs Real Estate Funding Corporation. Goldman Sachs Mortgage Company is a lender as that

tenn is defined in CoM. LAw § 12-101(f). See also Kemp, 2020 WL 5824227, at *9.

                                     FACTUAL ALLEGATIOIVS

                       General Allegations About Defendants' Knowledge

       13.     All persons, including licensed mortgage lender/servicers in the State of Maryland

like Shellpoint, are expected to know the law—including the laws governing their activities. As

part of its license to even conduct business in the State of Maryland, Shellpoint "has a duty of good

faith and fair dealing in communications, transactions, and course of dealings with a borrower in

connection with the advertisement, solicitation, making, servicing, purchase, or sale of any mort-

gage loan." MD. CODE REGS. 09.03.06.20. The Parkers and other Maryland borrowers like the

Parkers are third party beneficiaries of MD. CODE REGS. 09.03.06.20. All persons doing business

in Maryland, including Goldman Sachs, are also expected to know the law.
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        14.     The Court of Appeals in 2005 recognized that a real estate professional who had no

direct communication with a borrower nevertheless had a duty to the consumer under the Maryland

Consumer Protection Act and Maryland common law to make a"reasonable investigation" of the

true facts in the real estate transaction on which the borrower (and other parties) would rely in

order to complete the transaction. Hoffman v. Stamper, 385 Md. 1, 867 A.2d 276 (2005). This

duty of care applies to Defendants as their work involves secured, consumer mortgage loans sub-

ject to Maryland and Federal laws those discussed herein.

        15.     Pursuant to 12 C.F.R. § 1024.38(b)(1)(i), Shellpoint is required to "[p]rovide accu-

rate and timely disclosures to a borrower as required by [12 C.F.R. § 1024.38] or other applicable

law." Pursuant to 12 C.F.R. § 1024.35(b)(5), Shellpoint is not permitted to "impos[e]... a fee or

charge that the servicer lacks a reasonable basis to impose upon the borrower." It is unreasonable

and a violation of its duties for Shelipoint to impose and collect sums never properly agreed to by

the borrower pursuant to Md. Code Regs. 09.03.06.08.

       16.     Shellpoint has duties to the Plaintiffs and the putative class members to (i) take

appropriate steps to avoid foreclosure (and not churn the collection of fees and costs not permitted

under the law or actually incurred) and (ii) comply with any other obligation(s) found by the Bu-

reau of Consumer Financial Protection (by regulation) to be appropriate to carry out the consumer

protection purposes of 12 U.S.C.A. § 2605. Amongst these obligations are the servicer's duties to

comply with state laws and regulations that are not expressly preempted by RESPA; in other

words, Congress and the CFPB expressly intended for RESPA to work in concert with state regu-

lation. See e.g. 12 U.S.C.A. § 2605(h) and 12 C.F.R. § 1024.33(d) (expressly limiting preemption

to certain notice issues).




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        17.    The Maryland Mortgage Fraud Protection Act, REAt, PROP. § 7-401, et seq., estab-

lishes a statutory duty upon Defendants to disclose to mortgage borrowers, homeowners, and its

predecessor servicers with respect to the mortgage lending process in an honest and truthful man-

ner. Ademiluyf v. PennyMac Mortgage Inv. Trust Holdings I, LLC, 929 F. Supp. 2d 502, 531 (D.

Md. 2013); Castle v. Capttal One, N.A., No. CIV.A. WMN-13-1830, 2014 WL 176790, at *5 (D.

Md. Jan. 15, 2014; Stovall v. SunTrust Mortgage, Inc., No. CIV.A. RDB-10-2836, 2011 WL

4402680 (D. Md. Sept._20,

       18.     Maryland law specifically provides that "a lender may not impose a lender's inspec-

tion fee in connection with a loan secured by residential real property." Cotvt. LAw § 12-121(b).

See also Taylor, 344 Md. at 584 ("For the foregoing reasons we conclude that the legislative his-

tory does not so clearly demonstrate a purpose to limit the prohibition of § 12-121 to closing costs

as to override the plain language of the statute")

       19.     The Office of the Commissioner of Financial Regulation ("OCFR"), as the agency

that licenses Shellpoint to do business in the State of Maryland, expressly prohibits it licensees

including Shellpoint from imposing and collecting property inspection fees from borrowers.

OCFR, as the agency specif cally authorized to enforce and regulate Maryland's mortgage lending

laws, is entitled to deference for its interpretation of those laws. Comm'r of Ffn. Regulatfon V.

Brown, Brown, & Brown, P.C., 449 Md. 345, 3 59-3 60 (2016). Over the course of the former and

current administration, OCFR's analysis of the core issue has not wavered and supports the posi-

tion advanced by the Parkers in this action concerning the unlawful imposition and collection of

property inspection fees pursuant to Co[vt. LAw § 12-121 as evidence as follows:

               a.      OCFR issued an Industry Advisory on January 7, 2014 informing its licen-

       sees, including Shellpoint, that it was not permitted to impose inspection fees on mortgage



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       borrowers. A true and correct copy of the notice is attached as Exhibit A to this Class

       Action Complaint and is also publicly available at https://www.dllr.state.md.us/finance/ad-

       visories/advisory-nonjudicialevictions.pdf.

              b.      On Apri120, 2017 the OCFR issued a Sununary Cease and Desist Order to

       Ocwen Loan Servicing LLC ("Ocwen") and its affiliates on various issues including

       Ocwen's unfair and deceptive practice, like the practices of Shellpoint subject to this ac-

       tion, which_improperly_assessed inspection fees against the accounts of borrowers in vio-

       lation of CoM. LAw § 12-121, including accounts of borrowers owned by Govemment-

       Sponsored Enterprises. See Ocwen C&D Order at ¶¶ 79-83. Ocwen recently agreed, on

       February 23, 2018, to a resolution of the OCFR C&D Order and agreed to reimburse bor-

       rowers for the improper assessment and collection of inspection fees by: (i) cash refunds

       for fees paid, (ii) crediting accounts where the fee was assessed but not paid, and (iii) re-

       funding interest incurred when Ocwen capitalized the illegal inspection fees onto borrow-

       ers' accounts as part of a modification that increased the unpaid principal balance. See

       Ocwen Settlement Agreement at ¶ 26 (available at https://www.dllr.state.md.us/fi-

       nance/consumerL/pdf/ocwencd.pd

       20.    On May 14, 2018, the Consumer Protection Division in the Office of the Attorney

General for the State of Maryland ("CPD") agreed to an Assurance of Discontinuance with Na-

tionstar ("Nationstar Assurance"). In the Nationstar Assurance CPD found that the mortgage ser-

vicer had violated the bar to the assessment of inspection fees in Cotvt. LAw. § 12-121 and such

violations constituted violations of the Maryland Consumer Protection Act, CoM. LAW. § 13-101,

et seq. ("MCPA"). As the agency charged to enforce the MCPA, the CPD's position is entitled to

deference for its interpretation of the MCPA. Brown, Brown, 8c Brown P.C., 449 Md. at 359-360.



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                          Factual Allegations Relevant to the Parkers

       21.     The Parkers acquired the Parker Properry on or about December 17, 1993.

       22.     On or about December 7, 2007 the Parkers' refinanced their prior mortgage loan

with Homecomings Financial Network, Inc. ("HFN") related to the Parker Property by obtaining

an extension of credit for the sum of $193,482.00 from HFN (".Parker Loan"). HFN shortly after

December 7, 2007 assigned the Parker Loan to the Federal National Mortgage Association ("Fan-

nie Mae")_Fannie Mae assigned the Parker Loan to Goldman Sachs on August 13, 2019. At the

time of the assignment, Goldman Sachs authorized Nationstar Mortgage LLC d/b/a Mr. Cooper

for collection but thereaffter engaged Shellpoint to become the collector as of October 4, 2019.

       23.     In a monthly, periodic statement to the Parkers from Shellpoint on behalf of Gold-

man Sachs dated November 13, 2019 it represented to them that it had charged and collected pay-

ment from them a fee for a property inspection that relates to the Parker Property and Parker Loan

in the sum of $105.00 on November 8, 2019.

       24.    Neither Shellpoint nor Goldman Sachs had any right to impose any property in-

spection fees on the Parker Loan and the Parkers, as represented by Shellpoint was done on the

November 13, 2019 statement because such fees are barred by Com. LAw § 12-121(b). The in-

spection fee imposed and collected by Shellpoint on behalf of Golden Sachs was also not related

(i) either the construction of a new home on the Parker Property or any repairs, alternations, or

other work required by Shellpoint or Goldman Sachs to the Parker Property, or (ii) any appraisal

of the real property by Shellpoint or Goldman Sachs since the inspection was not conducted by a

licensed Maryland appraiser but was completed by Shellpoint's vendor Servicelink.

       25.    In a monthly, periodic statement related to the Parker Loan from Shellpoint on be-

half of Goldman Sachs to the Parkers dated March 12, 2020 it represented to them that it had



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charged and collected payment from them a fee for accepting their March 11, 2020 partial payment

on the Parker Loan by the Intennet on March 11, 2020.

       26.     Neither Shellpoint nor Goldman Sachs had any right to impose any fee for accept-

ing the Parker's March 11, 2020 partial payment on their mortgage by the Internet since Maryland

law bars such payments. Com. LAw § 12-105(d). In addition, the Parker Loan documents do not

expressly authorize the fee imposed and collected either, which by the admission of Shellpoint on

behalf of Goldman Sachs is directly related to the Parker Loan since it was itemized on the March

12, 2020 periodic statement.

       27.     In a monthly, periodic statement to the Parkers from Shellpoint on behalf of Gold-

man Sachs dated April 9, 2020 it represented to them that it had, directly related to the Parker

Loan, charged and collected payment from them a fee for accepting their April 8, 2020 partial

payment on the Parker Loan by the Internet on April 8, 2020.

       28.     Neither Shellpoint nor Goldman Sachs had any right to impose any fee for accept-

ing the Parker's April 8, 2020 partial payment on their mortgage by the Internet since Maryland

law bars such payments. Cotvt. LAw § 12-105(d). In addition, the Parker Loan documents do not

expressly authorize the fee imposed and collected either, which by the admission of Shellpoint on

behalf of Goldman Sachs is directly related to the Parker Loan sir}ce it was itemized on the April

9, 2020 periodic statement. .

       29.       As shown supra, by imposing fees—i.e., property inspection and convenience

fees—related to the Parker Loan which the Defendants did not have a right to impose, the Parkers

have been damaged by the Defendants' illegal fee harvesting program which is designed simply

to generate substantial revenue the Defendants do not have the right to collect.

       30.     The Parker Loan is not satisfied.



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       31.     The Parkers have been damaged and sustained losses as a proximate cause of Shell-

point's improper, unfair, and/or deceptive practices in relation to the collection of the Parker Loan

on behalf of Goldman Sachs including:

               a.      Payment and collection of convenience fees not permitted as a matter of

       Maryland law and the terms and conditions of the Parker Loan.

               b. .    Payment and collection of inspection fees not permitted as a matter of Maz-

       yland law and the terms and conditions of the Pazker_Loan.

       32.     The Parkers are also entitled to statutory damages as discussed infra.

                                       CLASs ALLEGATIONS

       33.     The Named Plaintiffs bring certain claims, infra, on behalf of classes and sub-

classes of similarly situated persons related to Defendant Shellpoint and Goldman Sachs under

MD. RuLE 2-231 defined as follows:


               a.      Shellpoint Convenience Fee Usury Class: The Parkers propose, as the

       definition of the Shellpoint Convenience Fee Usury Class, that it be defined as follows:

               Those persons in the State of Maryland for whom (i) Shellpoint has acted
               as a maker or assignee of a mortgage loan related to a secured, mortgage
               loan at any time or a mortgage servicer of a mortgage loan owner related to
               a secured, mortgage since January 1, 2019; (ii) where Shellpoint charged
               their mortgage loan accounts with convenience fees for it accepting whole
               or partial payments; and (iii) the mortgage loan accounts had not been sat-
               isfied more than six months before the commencement of this action.

               b.      Goldman Sachs Convenience Fee Usury Subclass: The Pazkers propose,

       as the definition of the Goldman Sachs Convenience Fee Usury Subclass, that it be de-

       fined as follows:

               Those members of the Shellpoint Convenience Fee Usury Class for whom
               Shellpoint collects the subject mortgage loans on behalf of Goldman Sachs.



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               C.     Shellpoint Inspection Fee Usury Class: The Parkers propose, as the def-

       inition of the Shellpoint Inspection Fee Class, that it be defined as follows:

               Those persons in the State of Maryland for whom (i) Shellpoint has acted
               as a maker or assignee of a mortgage loan related to a secured, mortgage
               loan at any time or a mortgage servicer of a mortgage loan owner related to
               a secured, mortgage since January 1, 2019; (ii) where Shellpoint charged
               their mortgage loan accounts with property inspection fees and costs related
               to the mortgage loan; and (iii) the mortgage loan accounts had not been
               satisfied more than six months before the commencement of this action.

               d.     Goldman Sachs Inspection Fee Usury Subclass: The Parkers propose, as

       the definition of the Goldman Sachs Inspection Fee Usury Subclass, that it be defined

       as follows:

               Those members of the Shellpoint Inspection Fee Usury Class for whom
               Shellpoint collects the subject mortgage loans on behalf of Goldman Sachs.


       34.     The Parkers qualify as members of each of the proposed classes and subclasses in

the preceding paragraph.

       35.     Excluded from each of the putative classes and subclass are any person who falls

within the definitions if the person is (i) an employee or independent contractor of Shellpoint or

Goldman Sachs; (ii) a relative of an employee or independent contractor of the Shellpoint or Gold-

man Sachs; or (iii) an employee of the Court where this action is pending.

       36.     The proposed class and subclass definitions in 133 as limited by ¶ 35 may be

amended or modified from time to time.

       37.     The particular members of the (i) Shellpoint Convenience Fee Usury Class, (ii)

Goldman Sachs Convenience Fee Usury Subclass, (iii) Shellpoint Inspection Fee Usury Class, and

(iv) the Goldman Sachs Inspection Fee Usury Subclass (collectively referred to "Proposed Clas-

ses and Subclasses") are capable of being described without difficult managerial or administrative




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  problems. The members of the putative classes are also readily identifiable from the information

  and records in the possession or control of Shellpoint or its affiliates and agents and from public

  records. Shellpoint is required to maintain this information for the entire class periods. See e.g.

  Md. Code Regs. 09.03.06.04.

         38.     The Proposed Classes and Subclasses are sufficiently numerous and exceed more

  than fifty persons each, such that individual joinder of all members is impractical. This allegation

__is_based on a dat_a search of public records which identify_public complaints have_been filed_against __ ____ _

  Shellpoint showing that it services fifty or more residential, mortgage loans and was the maker of

  more than 50 loans in Maryland; and Goldman Sachs has accepted assignment of more than 50

  loans of residential borrowers in the State of Maryland.

         39.     There are questions of law and fact conunon to the Proposed Classes and Subclasses

  which predominate over any questions affecting only individual members of the putative classes

  and subclasses. The wrongs alleged against Shellpoint and Goldman Sachs by the Proposed Clas-

  ses and Subclass members and the remedies sought by Named Plaintiffs and the putative class and

  subclass members against Shellpoint and Goldman Sachs are identical.

         40.     The common questions of law or fact for the Shellpoint Convenience Fee Usury

  Class include but are not limited to:

                 a.      Whether Shellpoint is entitled to convenience fees on the mortgage loan

         accounts of the Shellpoint Convenience Fee Usury Class members for accepting whole or

         partial payments from the class members by telephone or the Intemet;

                 b.      Whether Shellpoint is entitled to demand convenience fees on the mortgage

         loan accounts of the Shellpoint Convenience Fee Usury Class on its behalf or on behalf of

         another;




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               C.     Whether this Court may declare that Shellpoint's practices and policies con-

       cerning the assessment of convenience fees for accepting whole or partial payments against

       the mortgage loan accounts of the Shellpoint Convenience Fee Usury Class members vio-

       late CoNt. LAw § 12-105(d);

               d.     Whether the convenience fee charged by Shellpoint the Named Plaintiffs'

       and Shellpoint Convenience Fee Usury Class members' accounts constitute "interest" as

       that term is defined in CoM. LAw § 12-101(e) and therefore also constitute "usury" as that

       term is defined in Cotvt. LAw § 12-101(k); and

              e.      Whether Shellpoint is liable for statutory damages pursuant to the Shell-

       point Convenience Fee Usury Class members pursuant to Co►vt. LAw § 12-121(a)(1)(ii) for

       each instance in which Shellpoint has imposed improper convenience fees upon the Shell-

       point Convenience Fee Usury Class members.

       41.     The common questions of law or fact for the Goldman Sachs Convenience Fee

Usury Subclass include but are not limited to:

              a.      Whether Shellpoint is acting as the authorized agent of Goldman Sachs in

       relation to the Goldman Sachs Convenience Fee Usury Subclass members;

              b.      Whether Goldman Sachs is vicariously liable for the acts of Shellpoint on

       its behalf in relation to the Goldman Sachs Convenience Fee Usury Subclass members;

              C.      Whether this Court may declare that Goldman Sachs' practices and policies

       concerning the assessment of convenience fees for accepting whole or partial payments

       against the mortgage loan accounts of the Goldman Sachs Convenience Fee Usury Sub-

       class members violate Cona. LAw § 12-105(d);




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               d.      Whether the convenience fee charged by Goldman Sachs to the Named

       Plaintiffs' and Goldman Sachs Convenience Fee Usury Subclass members' accounts con-

       stitute "interest" as that term is defined in Cotvt. LAw § 12-101(e) and therefore also con-

       stitute "usury" as that term is defined in Com. LAw § 12-101(k); and

               e.      Whether Goldman Sachs is liable for statutory damages pursuant to the

       Goldman Sachs Convenience Fee Usury Subclass members pursuant to Co[vt. LAw § 12-

__     121(a)(1)(ii) for each instance in which Goldman Sachs has imposed, directly or indirectly,

       improper convenience fees upon the Goldman Sachs Convenience Fee Usury Subclass

       members.

       42.      The common questions of law or fact for the Shellpoint Inspection Fee Usury Class

include but are not limited to:

               a.      Whether Shellpoint is entitled to demand property preservation and/or in-

       spection fees on the mortgage loan accounts of the Shellpoint Inspection Fee Usury Class;

               b.      Whether Shellpoint is entitled to demand property preservation and/or in-

       spection fees on the mortgage loan accounts of the Shellpoint Inspection Fee Usury Class

       on behalf of Goldman Sachs and others;

               C.      Whether this Court may declare that Shellpoint's practices and policies con-

       cerning the assessment of property preservation fees against the mortgage loan accounts of

       the Shellpoint Inspection Fee Usury Class members violate Coivt. LAw § 12-121(b) and

       Taylor, 344 Md. at 584;

               d.      Do the inspection fees charges by Shelipoint on behalf of Goldman Sachs

       on the Named Plaintiffs' and Shellpoint Inspection Fee Usury Class members' accounts




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       constitute "interest" as that term is defined in Cotvt. LAw § 12-101(e) and therefore also

       constitute "usury" as that term is defined in Com. Lnw § 12-101(k); and

              e.      Whether Shellpoint is liable for statutory damages pursuant to

               Shellpoint Inspection Fee Usury Class members pursuant to Coivt. LAw § 12-

       121(a)(1)(ii) for each instance in which Shellpoint has imposed inspection fees onto the

       mortgage accounts of the Shellpoint Inspection Fee Usury Class members.

       43.    The_common_questions_of_lawor_fact_for_the_Goldman_Sachs Inspection_Fee_Usury

Subclass include but are not limited to:

               a.      Whether Shellpoint is acting as the authorized,agent of Goldman Sachs in

       relation to the Goldman Sachs Inspection Fee Usury Subclass;

               b.     Whether Goldman Sachs is vicariously liable for the acts of Shellpoint on

       its behalf in relation to the Goldman Sachs Inspection Fee Usury Subclass members;

              C.      Whether this Court may declare that Goldman Sachs' practices and policies

       concerning the assessment of inspection fees and costs against the mortgage loan accounts

       of the Goldman Sachs Inspection Fee Usury Subclass members violate Co1vt. LAw § 12-

       121(b) and Taylor, 344 Md. at 584;

               d.     Whether the convenience fee charged by Goldman Sachs to the Named

       Plaintiffs' and Goldman Sachs Inspection Fee Usury Subclass members' accounts consti-

       tute "interest" as that term is defined in CoM. LAw § 12-101(e) and therefore also constitute

       "usury" as that tenm is defined in CoM. LAw § 12-101(k); and

              e.      Whether Goldman Sachs is liable for statutory damages pursuant to the

       Goldman Sachs Inspection Fee Usury Subclass members pursuant to Com. LAw § 12-

       121(a)(1)(ii) for each instance in which Goldman Sachs has imposed, directly or indirectly,



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       improper inspection fees upon the Goldman Sachs lnspection Fee Usury Subclass mem-

       bers.

       44.     Shellpoint's and Goldman Sachs' defenses (which defenses are denied) would be

typical or identical for each of the member of Proposed Classes and Subclasses will be based on

the same legal and factual theories.

       45.     Certification of the Proposed Classes and Subclasses under Mn. RuLE 2-231 is ap-

propriate as to_the_members_of_the_putative_classes_in_that_common_questions_predominate_over_

any individual questions and a class action is superior for the fair and efficient adjudication of this

controversy.

       46.     A class action will cause an orderly and expeditious administration of claims by the

members of the Proposed Classes and Subclasses and economies of time, effort and expenses will

be fostered and uniformity of decisions will be insured.

       47.     The only individual questions concern the identification of inembers of Proposed

Classes and Subclasses. This information can be determined by a ministerial examination of public

records or from Shellpoint's business records or other sources, which are admissible as an excep-

tion to the hearsay rule and as a statement by a party.

       48.     The Named Plaintiffs' class and subclass claims are typical of the claims of the

Proposed Classes and Subclasses pursuant to MD. Ru[.E 2-231 since they are based on and arise

out of identical facts constituting the wrongful conduct of the Shellpoint and Goldman Sachs (di-

rectly and indirectly).

       49.     The Parkers will also fairly and adequately represent and protect the interests of

Proposed Classes and Subclasses. The Parkers are similarly situated with, and have suffered sim-




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    ilar injuries as, the putative classes and subclasses they propose, to represent. They have also re-

    tained counsel experienced in consumer class actions including actions involving unlawful collec-

    tion and mortgage servicing practices. The Parkers do not have any interests which might cause

    them not to vigorously prosecute this action or are otherwise adverse to the interests of the mem-

    bers of the Proposed Classes and Subclasses. They feel that they and the putative class and subclass

    members have been wronged, wish to obtain redress of the wrong, and wants Shellpoint and Gold-

_   man_Sachs stopped from failing to comply with its mandatory duties that form the basis of the

    class claims.

              50.   The Proposed Classes and Subclasses members have suffered actual damages,

    losses, and harm similar to those sustained by the Parkers, including statutory damages.



                    CoUN'r I: CLAIM PURSUANT TO COM. LAW § 12-121(a)(1)(ii)
                           (On behalf of the Plaintiffs Individually and
    on behalf of the Shellpoint Convenience Fee Usury Class and the Goldman Sachs Conven-
                                    ience Fee Usury Subclass)

              51.    The Parkers adopt by reference the factual allegations contained in the preceding

    paragraphs of this Complaint with the same effect as if herein fully set forth. This claim is brought

    on behalf of the Parkers individually and as the Named Plaintiffs on behalf of the Shellpoint Con-

    venience Fee Usury Class and the Goldman Sachs Convenience Fee Usury Subclass against Shell-

    point and Goldman Sachs respectfully.

              52.    As the maker and/or servicer of the Named Plaintiffs' and Shellpoint Convenience

    Fee Usury Class members' loans, Shellpoint qualifies as a lender pursuant to Cotvt. LAw § 12-

    101(f).




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          53.   As the maker and/or assignee of the Named Plaintiffs' and Goldman Sachs Con-

venience Fee Usury Subclass, Goldman Sachs qualifies as a lender pursuant to CoM. LAw § 12-

101(f).

          54.   Cotvt. LAw § 12-105(d) prohibits a lender or servicer from imposing fees related to

a borrower's partial or full payment on the Named Plaintiffs' and Shellpoint Convenience Fee

Usury Class and the Goldman Sachs Convenience Fee Usury Subclass members' mortgage loans

after the origination of the subject loans. Cotvt. LAw § 12-105(d) does not exempt Shellpoint or

Goldman Sachs from its express prohibition.

          55.   Shellpoint and Goldman Sachs were not entitled to require any charge to the mort-

gage loan accounts of the Named Plaintiffs and Shellpoint Convenience Fee Usury Class and the

Goldman Sachs Convenience Fee Usury Subclass members' mortgage loans related to the bor-

rower's partial or full payments on their loans over the telephone or by the Internet.

          56.   At all times relevant and material to this action, Shellpoint and Goldman Sachs

have known or should have known that neither were permitted to require the imposition of unau-

thorized `convenience' fees to the mortgage accounts of the Named Plaintiffs and the Shellpoint

Convenience Fee Usury Class and the Goldman Sachs Convenience Fee Usury Subclass members'

mortgage loans members who make partial or whole payments on their mortgage loans since all

persons are expected to know the law.

          57.   CoM. LAw § 12-114(a)(1)(ii) provides that Shellpoint shall forfeit to borrowers like

the Named Plaintiffs and Shellpoint Convenience Fee Usury Class members the sum of $500 for

any violation, including the assessment of so-called convenience fees for partial or whole pay-

ments made by telephone to it, of the subtitle including Cotvt. LAw § 12-105(d).




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         58.   Cotvt. LAw § 12-114(a)(1)(ii) provides that Goldman Sachs shall forfeit to borrow-

ers like the Named Plaintiffs and Goldman Sachs Convenience Fee Usury Subclass members the

sum of $500 for any violation, including the assessment of so-called convenience fees for partial

or whole payments made by telephone to it, of the subtitle including Co1vt. LAw § 12-105(d).

         59.   Goldman Sachs is also vicariously liable for the damages sustained by the Goldman

Sachs Convenience Fee Usury Subclass as a result of Shellpoint's actions in violation of CoM.

LAw § 12-105(d) on its behalf in relation to the Goldman Sachs Convenience Fee Usury Subclass.

This v

         60.   The Named Plaintiffs and Shellpoint Convenience Fee Usury Class members are

entitled to the sum of $500 for each instance in which Shellpoint has imposed convenience fees

against the mortgage loan accounts of the Named Plaintiffs and the Shellpoint Convenience Fee

Usury Class members in violation of CoM. LAw § 12-105(d) whether the Named Plaintiffs and

Shellpoint Convenience Fee Usury Class members paid the assessment or not.

         61.   The Named Plaintiffs and Goldman Sachs Convenience Fee Usury Subclass mem-

bers are entitled to the sum of $500 for each instance in which Goldman Sachs has imposed, di-

rectly or indirectly, convenience fees against the mortgage loan accounts of the Named Plaintiffs

and the Goldman Sachs Convenience Fee Usury Subclass members in violation of Com. LAw §

12-105(d) whether the Named Plaintiffs and Goldman Sachs Convenience Fee Usury Subclass

members paid the assessment or not.

            Covrrr II: CLAIM PURSUANT TO COM. LAW § 12-121(a)(1)(ii)
                        (On behalf of the Plaintiffs Individually and
 on behalf of the Shellpoint Inspection Fee Usury Class and the Goldman Sachs Inspection
                                     Fee Usury Subclass)

         62.    The Parkers adopt by reference the factual allegations contained in the preceding

paragraphs of this Complaint with the same effect as if herein fully set forth. This claim is brought


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on behalf of the Parkers individually and as the Named Plaintiffs on behalf of the Shellpoint In-

spection Fee Usury Class and the Goldman Sachs Inspection Fee Usury Subclass against Shell-

point and Goldman Sachs respectfully.

          63.    As the maker and/or servicer of the Named Plaintiffs' and Shellpoint Inspection

Fee Usury Class members' loans, Shellpoint qualifies as a lender pursuant to Cotvt. LAw § 12-

101(f).

          64. _ As the maker and/or assignee of the Named Plaintiffs' and Goldman Sachs Inspec-

tion Fee Usury Subclass, Goldman Sachs qualifies as a lender pursuant to Com. LAw § 12-101(f).

          65.    CoNt. LAw § 12-121(b) and Taylor, 344 Md. at 584 prohibits a lender or servicer

from imposing fees related to property inspections onto the Named Plaintiffs' and Shellpoint In-

spection Fee Usury Class and the Goldman Sachs Inspection Fee Usury Subclass members' mort-

gage loans after the origination of the subject loans. COM. LAw § 12-121 does not exempt Shell-

point or Goldman Sachs from its express prohibition.

          66.   Shellpoint and Goldman Sachs were not entitled to require any charge to the mort-

gage loan accounts of the Shellpoint Inspection Fee Usury Class and the Goldman Sachs Inspec-

tion Fee Usury Subclass members' mortgage loans related to a purported inspection fee of the

borrowers' property but did so anyway in violation of Cotvt. LAw § 12-121(b) and Taylor, 344 Md.

at 584.

          67.   At all times relevant and material to this action, Shellpoint and Goldman Sachs

have known or should have known that neither were permitted to require the imposition of inspec-
                                            ~
tion fees to the mortgage accounts of the Named Plaintiffs and the Shellpoint Inspection Fee Usury

Class and the Goldman Sachs Inspection Fee Usury Subclass members' mortgage loans since all

persons are expected to know the law.




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       68.     CoNt. LAw § 12-114(a)(1)(ii) provides that Shellpoint shall forfeit to borrowers like

the Named Plaintiffs and Shellpoint Inspection Fee Usury Class members the sum of $500 for any

violation, including the assessment of so-called inspection fees, of the subtitle including Cotvt.

LAw § 12-121(b).

       69.     Co[vt. LAw § 12-114(a)(1)(ii) provides that Goldman Sachs shall forfeit to borrow-

ers like the Named Plaintiffs and the Goldman Sachs Inspection Fee Usury Subclass members the

sum_of_$500 for_any violation, including the assessment of so-called inspection fees, of the subtitle

including Cotv1. LAw § 12-121(b).

       70.     Goldman Sachs is also vicariously liable for the damages sustained by the Goldman

Sachs Inspection Fee Usury Subclass as a result of Shellpoint's actions in violation of Cocvt. LAw

§ 12-121(b) on its behalf in relation to the Goldman Sachs Inspection Fee Usury Subclass.

       71.     The Named Plaintiffs and Shellpoint Inspection Fee Usury Class members are en-

titled to the sum of $500 for each instance in which Shellpoint has imposed inspection fees against

the mortgage loan accounts of the Named Plaintiffs and the Shellpoint Inspection Fee Usury CIass

members in violation of Com. LAw § 12-121(b) whether the Named Plaintiffs and Shellpoint In-

spection Fee Usury Class members paid the assessment or not.

       72.     The Named Plaintiffs and Goldman Sachs Inspection Fee Usury Subclass members

are entitled to the sum of $500 for each instance in which Goldman Sachs has imposed, directly

or indirectly, inspection fees against the mortgage loan accounts of the Named Plaintiffs and the

Goldman Sachs Inspection Fee Usury Subclass members in violation of Com. LAw § 12-121(b)

whether the Named Plaintiffs and Goldman Sachs Inspection Fee Usury Subclass members paid

the assessment or not.




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                            PRAYERS FOR RELIEF

A. WHEREFORE, Pursuant to Count I of this Class Action Complaint, Named

      Plaintiffs request the Court to certify the Shellpoint Convenience Fee

      Usury Class and the Goldman Sachs Convenience Fee Usury Subclass

      pursuant to MD. RULE 2-231 and appoint the Named Plaintiffs as class

      representatives and the undersigned counsel as Class Counsel for the

      class_and_subclass:

B. WHEREFORE, Pursuant to Count I of this Class Action Complaint, Named

      Plaintiffs and the Shellpoint Convenience Fee Usury Class members ask

      this Court to determine the issue of Shellpoint's liability to the Shellpoint

      Convenience Fee Usury Class members and grantamoneyjudgmentintheir

      favor and against Shellpoint and order Defendant Shellpoint to pay and for-

      feit pursuant to Cotvt. LAw § 12-114(a)(1)(ii) to the Named Plaintiffs and

      the Shellpoint Convenience Fee Usury Class members $500 for each vi-

      olation of Com. LAw § 12-105(d) and reasonable attorney fees and costs

      for the assessment of so-called convenience fees for partial or whole pay-

      ments made by telephone or by the Internet to it in a total sum in excess

      of $75,000.00 (on a aggregated basis for the Plaintiffs and Shellpoint

      Convenience Fee Usury Class members).

C. VVHEREFORE, Pursuant to Count I of this Class Action Complaint, Named

      Plaintiffs and the Goldman Sachs Convenience Fee Usury Subclass mem-

      bers ask this Court to determine the issue of Goldman Sachs' liability to

      the Goldman Sachs Convenience Fee Usury Subclass members and grant



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            a money judgment in their favor and against Goldman Sachs and order Defend-

            ant Goldman Sachs to pay and forfeit pursuant to Cotv1. LAw § 12-

            114(a)(1)(ii) to the Named Plaintiffs and the Goldman Sachs Conven-

            ience Fee Usury Subclass members $500 for each violation of Coty. LAw

           § 12-105(d) and reasonable attorney fees and costs for the assessment of

           so-called convenience fees for partial or whole payments made by tele-

__        __phone or by the Internet to it,directly or indirectly, in a total sum in excess

           of $75,000.00 (on a aggregated basis for the Plaintiffs and the Goldman

            Sachs Convenience Fee Usury Subclass members). In the alternative,

           Named Plaintiffs and the Goldman Sachs Convenience Fee Usury Sub-

           class request that the Court find Goldman Sachs vicariously liable to

           Goldman Sachs Convenience Fee Usury Subclass members for the statu-

           tory damages they are entitled to as a result of Shellpoint's violations on

           behalf of Goldman Sachs.

     D. WHEREFORE, Pursuant to Count II of this Class Action Complaint, Named

           Plaintiffs request the Court to certify the Shellpoint Inspection Fee Usury

           Class and the Goldman Sachs Inspection Fee Usury SubcIass pursuant to

           MD. RuLE 2-231 and appoint the Named Plaintiffs as class representatives

           and the undersigned counsel as Class Counsel for the class and subclass;

     E. WHEREFORE, Pursuant to Count II of this Class Action Complaint, Named

           Plaintiffs and the Shellpoint Inspection Fee Usury Class members ask this

           Court to determine the issue of Shellpoint's liability to the Shellpoint In-

           spection Fee Usury Class members and grant amoneyjudgment intheirfavor



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      and against Shellpoint and order Defendant Shellpoint to pay and forfeit pur-

      suant to Colvt. LAw § 12-114(a)(1)(ii) to the Named Plaintiffs and the

      Shellpoint Inspection Fee Usury Class members $500 for each violation

      of Cotvt. LAw § 12-121(b) and reasonable attorney fees and costs for the

      assessment of so-called property inspection fees to it in a total sum in

      excess of $75,000.00 (on a aggregated basis for the Plaintiffs and Shell-

      point_Inspection_Fee Usury Class members).

F. WHEREFORE, Pursuant to Count II of this Class Action Complaint, Named

      Plaintiffs and the Goldman Sachs Inspection Fee Usury Subclass mem-

      bers ask this Court to determine the issue of Goldman Sachs' liability to

      the Goldman Sachs Inspection Fee Usury Subclass members and grant a

      money judgment in their favor and against Goldman Sachs and order Defendant

      Goldman Sachs to pay and forfeit pursuant to CoNt. LAw § 12-

      114(a)(1)(ii) to the Named Plaintiffs and the Goldman Sachs Inspection

      Fee Usury Subclass members $500 for each violation of Com. LAw § 12-

      121(b) and reasonable attorney fees and costs for the assessment of so-

      called property inspection fees to it, directly or indirectly, in a total sum

      in excess of $75,000.00 (on a aggregated basis for the Plaintiffs and the

      Goldman Sachs Inspection Fee Usury Subclass members). In the alter-

      native, Named PlaintifPs and the Goldman Sachs Inspection Fee Usury

      Subclass request that the Court find Goldman Sachs vicariously liable to

      Goldman Sachs Inspection Fee Usury Subclass members for the statutory




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        half-of Goldman,,Sachs.
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G., WHEREFORE, N'anic-'d'P laiiitiffs rdqiio.'st the, Court provide,sucb ot her ot'fur-

        tlier relief ias tlie~ Cdui-bdeeins,,apgr6,pfiate includifig attorhey fees, and

        cogts in relation to, Couni-, of-,this, Cpmp'l6int.




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                         IWLE D 20-201, CERTIFICATION
I'liereby cer-tify, that this filing does not coiitain any Testrieted iiifotrhation.,



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13




                                          .JURY DEMAND'

       Plaintiffs, on-theit behalfand,on behalf of the-putative class and subclass members,'by-

th,dir undersiQned counse'l request 4jury,trial in th1s




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